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                  UNITED STATES BANKRUPTCY COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION


In Re:                          Case No. 8:24-bk-05243-CPM
XAVIER CHARLES ALEXANDER WASHINGTON II        Chapter 13

      Debtor.
_________________________/


                         NOTICE OF CHANGE OF ADDRESS

      NOTICE IS HEREBY GIVEN that the address of the Debtor will be changed to:

                                2109 Bayshore Blvd, #211
                                    Tampa, FL 33606


                             CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that a copy of the foregoing Notice of Change of Address
      has been furnished by U.S. Mail or electronic filing notice to Jon Waage, Trustee; and
      Xavier Washington, Debtor, 2109 Bayshore Blvd, #211, Tampa, FL 33606; this 13 th day
      of July, 2025.


                                                 _____/s/ Kelley M. Petry ______________
                                                 Kelley M. Petry, Esq. Fl Bar No 0388180
                                                 Law Offices of Robert M. Geller, P.A.
                                                 807 W. Azeele St.
                                                 Tampa, FL 33606
                                                 (813) 807-3449
                                                 email: kpetry@robertgellerlaw.com
